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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 In re:
 CHRIS E. CARHART,                                          Case No. 9:16-bk-06499-FMD

                       Debtor.
                                           /

 ROBERT E. TARDIF, JR., Trustee,                            Adv. Pro. No. 9:17-AP-00505-FMD

                       Plaintiff,
 v.

 KEXIN CARHART                                              Judge: Caryl E. Delano

                       Defendant.
                                               /

                                  AMENDED ANSWER
                              TO ADVERSARY COMPLAINT

    Now comes, the Defendant, Kexin Carhart (Hereinafter the “Defendant”) and in Answer to
the Trustee’s Complaint state as hereinafter follows:

      1.   The Defendant Admits the allegations of this Paragraph 1

      2.   The Defendant Admits the allegations of this Paragraph 2.

      3.   The Defendant Admits the allegations of this Paragraph 3.

      4.   The Defendant Admits the allegations of this Paragraph 4.

      5.   The Defendant Admits the allegations of this Paragraph 5.

      6.   The Defendant Admits the allegations of this Paragraph 6.

      7.   The Defendant Admits the allegations of this Paragraph 7.

      8.   The Defendant Admits the allegations of this Paragraph 8.
      9.   The Defendant Denies the allegations of this Paragraph 9. Furthermore, the
           Defendant affirmatively states that the Naperville property is subject to two secured
           interests, to wit: a first mortgage to Bank of America for $460,000.00 and a valid
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           Illinois judgment lien against the Debtor’s one half of the property, in the amount of
           $333,614.33 that viewed together constitute a dollar amount far in excess of the
           estimated value of the property of $750,000.00 plus costs of sale and the expenses of
           preserving the property since the Bankruptcy case was first filed. If the property is
           sold, the estate would realize nothing, rendering the sale of the Naperville property a
           useless act.

   10.     The Defendant Denies the allegations of this Paragraph 10. Furthermore the
           Defendant restates her affirmative answer to paragraph 9 above.

   11.     The Defendant admits the allegations of paragraph 11.

   Wherefore, the Defendant prays for the entry of a judgment against the Plaintiff Trustee and
denying the sale of the Defendant’s Illinois Property.

                                                     Respectfully Submitted;
                                                     Kexin Carhart, Defendant

                                                     By: /S/RICHARD J. HOLLANDER
                                                            RICHARD J. HOLLANDER
                                                            Florida Bar No. 182746

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to:
U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602 and Robert E. Tardif, Jr.,
Trustee, P.O. Box 2140, Fort Myers, FL 33902, by first class U.S. Mail, postage fully prepaid, or
by electronic notice, this 13th day of November, 2017.

                                     MILLER, HOLLANDER and JEDA
                                     Attorneys for Debtors
                                     5278 Golden Gate Pkwy, Ste. 2
                                     Naples, FL 34116
                                     Telephone (239)775-2000
                                     Facsimile (239)775-7953

                                     By: /S/RICHARD J. HOLLANDER
                                            Richard J. Hollander
                                            Florida Bar No. 884900
                                            Melissa H. Jeda
                                            Florida Bar No. 106407
